                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          TERRE HAUTE DIVISION

LISA MARIE MONTGOMERY,                      )
                                            )
                         Petitioner,        )
                                            )
                    v.                      )    No. 2:21-cv-00020-JPH-DLP
                                            )
WARDEN OF USP TERRE HAUTE, IN, et           )
al.                                         )
                                            )
                         Respondents.       )

              ORDER DENYING EMERGENCY MOTION FOR STAY

      On January 11, 2021, the Court granted a motion to stay and entered an

order staying Lisa Marie Montgomery's execution. Dkts. 17, 22. The government

promptly filed a notice of appeal and an emergency motion to stay pending

appeal. Dkt. 19. As the government acknowledges, the Court has considered and

rejected the arguments presented in their motion to stay. Id. at 1. For the reasons

discussed in the Court's order granting a stay of execution, the government's

emergency motion for stay pending appeal, dkt. [19], is DENIED.

SO ORDERED.



Date: 1/12/2021
Distribution:

Brian Patrick Casey
U.S. ATTORNEY'S OFFICE
brian.casey@usdoj.gov

Amy D. Harwell
FEDERAL PUBLIC DEFENDER TNM
amy_harwell@fd.org

Kelley J. Henry
FEDERAL PUBLIC DEFENDER TNM
kelley_henry@fd.org

Lisa Nouri
lisanouri_atty@hotmail.com
